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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA
                                CASE NO. 24-61611-CIV-DAMIAN
  CHANEL, INC.,

                 Plaintiff,

  vs.

  21442995, AN INDIVIDUAL,
  BUSINESS ENTITY, OR
  UNINCORPORATED ASSOCIATION,

              Defendant.
  ______________________________________/

   PLAINTIFF’S MOTION FOR ORDER AUTHORIZING ALTERNATE SERVICE OF
          PROCESS ON DEFENDANT PURSUANT TO FEDERAL RULE OF
  CIVIL PROCEDURE 4(f)(3) AND MEMORANDUM OF LAW IN SUPPORT THEREOF

        Plaintiff, Chanel, Inc. (“Chanel” or “Plaintiff”), hereby moves for an order authorizing

 alternate service of process on Defendant, the Individual, Business Entity, or Unincorporated

 Association doing business as the Store ID identified on Schedule “A” hereto (“Defendant”),

 brought pursuant to Federal Rule of Civil Procedure 4(f)(3). In support thereof, Chanel submits

 the following Memorandum of Law.

 I.     INTRODUCTION

        Chanel is suing Defendant for federal trademark counterfeiting and infringement, false

 designation of origin, common law unfair competition, and common law trademark infringement.

 Defendant is knowingly and intentionally promoting, advertising, distributing, offering for sale, and

 selling goods bearing and/or using counterfeits and infringements of one or more of Chanel’s

 registered trademarks within this district and throughout the United States through the Internet based

 e-commerce store operating on the DHgate.com platform under its store identification number

 identified on Schedule “A” hereto (the “Store ID”).
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        Pursuant to Federal Rule of Civil Procedure 4(f)(3), Chanel requests an order authorizing

 service of process on Defendant via electronic mail (“e-mail”) and via website posting. Alternate

 service by e-mail and by posting on a designated website are appropriate and necessary in this case

 because Defendant (1) operates via the Internet, and (2) relies on electronic communication to

 operate its business. As such, Chanel can contact Defendant directly and provide notice of

 Chanel’s claims against it electronically. Additionally, Chanel has created a serving notice website

 in this case where it will post copies of the Summons and Complaint, this Motion, and all other

 documents filed in this action. Chanel respectfully submits that an order allowing service of

 process and service of all filings via e-mail and by posting on a designated website will benefit all

 parties and the Court by ensuring Defendant receives immediate notice of the pendency of this

 action thereby allowing this proceeding to move forward expeditiously. Absent the ability to serve

 Defendant by e-mail and/or by website posting, Chanel will almost certainly be left without the

 ability to pursue a remedy.

  II.   STATEMENT OF FACTS

        A.      Defendant Has Valid Means of Electronic Contact.

        Defendant operates an Internet-based business and uses electronic means of

 communication such that Chanel will be able to provide Defendant with notice of this action via

 e-mail and website posting. (See Declaration of Stephen M. Gaffigan filed in Support of Plaintiff’s

 Motion for Order Authorizing Alternate Service of Process on Defendant Pursuant to Federal Rule

 of Civil Procedure 4(f)(3) [“Gaffigan Decl.”] ¶¶ 2-7, filed herewith.) As a practical matter, it is

 necessary for a merchant who operates entirely online, such as Defendant, to provide a customer

 with valid electronic means by which the customer may contact the merchant to ask questions

 about the merchant’s products, place orders from the merchant, and receive information from the

 merchant regarding the shipment of an order. Further, an e-commerce defendant generally must


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 maintain accurate e-mail addresses or other electronic contact where its marketplace platform and

 payment processors may communicate with it regarding issues related to the maintenance of its e-

 commerce store and transfer of funds for the payment for goods. Additionally, Chanel has created

 a    serving      notice     website     that     will     be     appearing      at     the     URL

 http://servingnotice.com/cI5hM/index.html (“Plaintiff’s Website”), such that anyone accessing

 Plaintiff’s Website will find copies of all documents filed in this action. (See Gaffigan Decl. ¶ 5.)

        Defendant operates its e-commerce store via the non-party Internet marketplace website,

 DHgate.com (“DHgate”), and has at least one method of electronic communication via online

 contact in the form of DHgate’s messaging system. (Gaffigan Decl. ¶ 2.) DHgate’s “Ask seller a

 question” function facilitates communications between a customer and a merchant in DHgate’s

 marketplace. (Id.) Based upon past actions, Chanel’s counsel is aware that communications sent

 through the DHgate messaging system are sent to and received by the e-commerce store operator.

 (Id.) Moreover, Chanel’s counsel is aware that DHgate maintains additional contact e-mail

 addresses for sellers operating via DHgate.com. (Id.)

        Defendant is further able to receive notice of this action by e-mail via the e-commerce

 marketplace website that Defendant uses to conduct its commercial transactions via the Store ID,

 including the customer service e-mail address. (Id. at ¶ 3.)

        Additionally, Chanel will be able to provide Defendant notice of this action via public

 announcement on Chanel’s designated website. Chanel has created its Website that will be

 appearing at the URL http://servingnotice.com/cI5hM/index.html whereon copies of the

 Summons, Complaint, this Motion, and all other pleadings, documents, and orders on file in this

 action will be posted, such that anyone accessing Plaintiff’s Website will find copies of all

 documents filed in this action. (Id. at ¶ 5.) The address for Plaintiff’s Website will be provided to




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 Defendant via its known means of electronic contact identified on Schedule “A” hereto and will

 be included as part of service of process in this matter. (Id. at ¶¶ 4-5.)

        Accordingly, Defendant will receive notice of this action electronically by providing the

 address for Plaintiff’s Website to its individual messaging account, customer service e-mail

 address and/or onsite contact form, or via the DHgate.com marketplace platform Defendant uses

 to conduct its commercial transactions via its Store ID. (Id. at ¶ 7.) In this manner, Defendant will

 receive a web address at which it will be able to access all electronic filings to view, print, or

 download any document filed in the case like the court’s CM/ECF procedures. (Id.)

        B.      Defendant Relies on Electronic Communication.

        Defendant has structured its e-commerce store business so that the means for customers to

 purchase Defendant’s counterfeit and infringing goods at issue is by placing an order

 electronically. Defendant takes and confirms orders online or via electronic messaging and relies

 on electronic means to receive payment. (See Gaffigan Decl. ¶ 6 and Comp. Ex. “1” thereto,

 documenting Defendant’s e-commerce store operating under its Store ID.)

 III.   ARGUMENT

        Pursuant to Federal Rule of Civil Procedure 4(h)(2), a foreign business entity or other

 unincorporated association may be served with process in any manner prescribed by Rule 4(f) for

 serving foreign individuals. Federal Rule of Civil Procedure 4(f)(3), allows a district court to

 authorize an alternate method for service to be effected upon a foreign defendant, provided that it

 is not prohibited by international agreement and is reasonably calculated to give notice to the

 defendant. In the present matter, alternate service of process via DHgate’s messaging system and

 by posting on Plaintiff’s Website are appropriate given that Defendant has established an Internet-




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 based business by which it relies on electronic communication for its operation. Accordingly, this

 Court should permit service on Defendant by DHgate’s messaging system and website posting.

         A.      The Court May Authorize Service via Electronic Mail and Website Posting
                 Pursuant to Federal Rule of Civil Procedure 4(f)(3).

         Federal Rule of Civil Procedure 4(h)(2) allows a foreign business entity to be served with

 process “in any manner prescribed by Rule 4(f),” including any manner ordered under Rule 4(f)(3).

 U.S. Commodity Futures Trading Comm’n v. Aliaga, 272 F.R.D. 617, 619 (S.D. Fla. 2011). A

 foreign partnership or other unincorporated association can therefore be served in the same manner

 as serving a foreign individual pursuant to Rule 4(f)(3). Id. Federal Rule of Civil Procedure 4(f)(3)

 allows alternative methods for service of process, so long as those methods are not prohibited by

 international agreement and are directed by the Court. See Prewitt Enters., Inc. v. The Org. of

 Petrol. Exporting Countries, 353 F.3d 916, 923 (11th Cir. 2003). See also Brookshire Bros., Ltd.

 v. Chiquita Brands Int’l, Case No. 05-CIV-21962, 2007 WL 1577771, at *2 (S.D. Fla. May 31,

 2007); Rio Props. Inc. v. Rio Int’l Interlink, 284 F.3d 1007, 1014 (9th Cir. 2002). In fact, “as long

 as court-directed and not prohibited by an international agreement, service of process ordered

 under Rule 4(f)(3) may be accomplished in contravention of the laws of the foreign country.”

 Chanel, Inc. v. Zhixian, Case No. 10-cv-60585-JIC, 2010 WL 1740695, at *3 (S.D. Fla. April 29,

 2010) (quoting Rio Props., Inc., 284 F.3d at 1014 and citing Mayoral–Amy v. BHI Corp., 180

 F.R.D. 456, 459 n.4 (S.D. Fla. 1998)).

         The plain language of Rule 4(f)(3) reflects that the decision to issue an order allowing an

 alternate means of service lies within the sole discretion of the District Court. Prewitt Enters., Inc.,

 353 F.3d at 921; Rio Props., Inc., 284 F.3d at 1116. See, e.g., Brookshire Bros., Ltd., 2007 WL

 1577771, at *2 (noting that “district courts have broad discretion under Rule 4(f)(3) to authorize

 other methods of service”); In re Int’l Telemedia Assocs., 245 B.R. 713, 720 (N.D. Ga. 2000)



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 (noting that Rule 4(f)(3) is designed to allow courts discretion and broad flexibility to tailor the

 methods of service for a particular case). Rule 4 does not require a party attempt service of process

 by those methods enumerated under subsections (f)(1) and (f)(2), including by diplomatic channels

 and letters rogatory, before petitioning the court for alternative relief under subsection 4(f)(3). Rio

 Props., Inc., 284 F.3d at 1114-15; see also Brookshire Bros., Ltd., 2007 WL 1577771, at *1.

        In Brookshire, the Honorable Judge Marcia G. Cooke allowed substitute service on a

 party’s attorney pursuant to Rule 4(f)(3) holding as follows:

        Rule 4(f)(3) is one of three separately numbered subsections in Rule 4(f) and each
        subsection is separated from the one previous merely by the simple conjunction
        ‘or.’ Rule 4(f)(3) is not subsumed within or in any way dominated by Rule 4(f)’s
        other subsections; it stands independently, on equal footing. Moreover, no language
        in Rules 4(f)(1) or 4(f)(2) indicates the primacy, and certainly Rule 4(f)(3) indicates
        no qualifiers or limitations which indicate its availability only after attempting
        service of process by other means.

 Brookshire Bros., Ltd., 2007 WL 1577771, at *1 (quoting Rio Props., Inc., 284 F.3d at 1015).

 Accord TracFone Wireless, Inc. v. Bitton, 278 F.R.D. 687, 692 (S.D. Fla. Jan. 11, 2012) (noting

 that in regards to Rule 4(f)(3), “there is no indication from the plain language of the Rule that the

 three subsections, separated by the disjunctive “or,” are meant to be read as a hierarchy.”). Judge

 Cooke further held, “[t]he invocation of Rule 4(f)(3), therefore, is neither a last resort nor

 extraordinary relief.” Brookshire Bros., Ltd., 2007 WL 1577771, at *2.

        Additionally, the Constitution itself does not mandate that service be effectuated in any

 particular way. Rather, Constitutional due process considerations require only that the method of

 service selected be “reasonably calculated, under all the circumstances, to apprise interested parties

 of the pendency of the action and afford them an opportunity to present their objections.”

 Brookshire Bros., Ltd., 2007 WL 1577771, at *1 (quoting Mullane v. Cent. Hanover Bank & Trust

 Co., 339 U.S. 306, 314 (1950)); see also TracFone Wireless, Inc., 278 F.R.D. at 692; Rio Props.,

 Inc., 284 F.3d at 1016. Accordingly, federal courts have allowed a variety of alternative service


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 methods, including service by e-mail and service by posting on a designated website, where a

 plaintiff demonstrates the likelihood that the proposed alternative method of service will notify a

 defendant of the pendency of the action. See, e.g., Rio Props., Inc., 284 F.3d at 1017 (holding,

 “without hesitation,” that e-mail service of an online business defendant “was constitutionally

 acceptable”); In re Int’l Telemedia Assocs., 245 B.R. at 721 (“If any methods of communication

 can be reasonably calculated to provide a defendant with real notice, surely those communication

 channels utilized and preferred by the defendant himself must be included among them.”);

 National Association for Stock Car Auto Racing, Inc. v. Does, 584 F. Supp. 2d 824, 826 (W.D.N.C.

 2008) (in “acknowledging the realities of the twenty-first century and the information age, the

 Court determined that the most appropriate place for publication was [plaintiff’s website].”).

        Here, service on Defendant by, at least, DHgate’s messaging system and/or by posting on

 Plaintiff’s Website will satisfy due process by apprising it of the action and giving it the

 opportunity to answer Chanel’s claims. Based upon Chanel’s investigation, Defendant has at least

 one form of electronic means of contact which is not just effective, but likely the most reliable

 means of communicating with Defendant, and consequently, the most reliable means of providing

 Defendant with notice of this action. (See Gaffigan Decl. ¶¶ 2-4.) Moreover, service by posting on

 Plaintiff’s Website will be an additional source of reliability as Defendant will be able to see copies

 of the Summons and Complaint, this Motion, and all other documents in this matter electronically

 via its Internet web browser. (Id. at ¶ 5.) The suggested methods are the most reliable means of

 providing Defendant with notice of this action.

        E-mail service, including via DHgate’s messaging system, on an online business defendant

 is appropriate and constitutionally acceptable in a case such as this when the plaintiff has proven

 that e-mail is the most effective means of providing the defendant notice of the action. See Rio




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 Props., Inc., 284 F.3d at 1017 (concluding “not only that service of process by e-mail was proper—

 that is, reasonably calculated to apprise [the defendant] of the pendency of the action and afford it

 an opportunity to respond—but in this case, it was the method of service most likely to reach [the

 defendant].”). See also Popular Enters., LLC v. Webcom Media Group, Inc., 225 F.R.D. 560, 562

 (E.D. Tenn. 2004) (“Under the facts and circumstances presented here, Rule 4(f)(3) clearly

 authorizes the court to direct service upon defendant by e-mail. The rule is expressly designed to

 provide courts with broad flexibility in tailoring methods of service to meet the needs of

 particularly difficult cases. Such flexibility necessarily includes the utilization of modern

 communication technologies to effect service when warranted by the facts”) (citation omitted).

 The Rio Properties, Inc. and Popular Enters., LLC courts each determined e-mail service to be

 appropriate in part because, as in this case, the defendants conducted their businesses online, used

 e-mail regularly in their businesses, and encouraged parties to contact them via e-mail. Id.

        In cases that are factually similar to this one, a number of Courts have held that alternate

 forms of service pursuant to Rule 4(f)(3), such as e-mail service, are appropriate and may be the only

 means of effecting service of process “when faced with an international e-business scofflaw.” Rio

 Properties, Inc., 284 F.3d at 1018; see also Chanel, Inc. v. Zhixian, 2010 WL 1740695, at *3 (e-mail

 service “reasonably calculated to notify Defendants of the pendency of this action and provide him

 with an opportunity to present objections.”); TracFone Wireless, Inc., 278 F.R.D. at 693 (finding

 that service of process by e-mail was reasonably calculated to apprise the defendants of the action

 and give it an opportunity to respond); Popular Enters., LLC, 225 F.R.D. at 563 (same); In re Int’l

 Telemedia Associates, 245 B.R. at 722 (“A defendant should not be allowed to evade service by

 confining himself to modern technological methods of communication not specifically mentioned in

 the Federal Rules. Rule 4(f)(3) appears to be designed to prevent such gamesmanship by a party”




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 (concluding e-mail and facsimile service to be appropriate)); Chanel, Inc. v. Zhibing, Case No. 09-

 cv-02835, 2010 WL 1009981, at *4 (W.D. Tenn. March 17, 2010) (stating that e-mail service has

 the “greatest likelihood” of reaching e-commerce merchants and noting, “The federal judiciary’s

 own CM/ECF system alerts parties . . . by e-mail messages.” Alternate service via e-mail granted). 1

 Chanel submits that allowing e-mail service via the DHgate.com messaging system in the present

 case is appropriate and comports with constitutional notions of due process, particularly given

 Defendant’s decision to conduct its unlawful business via the Internet and utilizing the DHgate.com

 marketplace messaging system as a primary means of communication.

        Additionally, service of a defendant by posting on a designated website, such as a

 plaintiff’s website, has been deemed an appropriate means of service by posting. See National

 Association for Stock Car Auto Racing, Inc., 584 F. Supp. 2d at 826. 2 A proposed method of


 1
   See, e.g., Chanel, Inc. v. 21859711, No. 24-cv-22170-MD (S.D. Fla. June 10, 2024) (Order
 granting alternate service of process, inter alia, via e-mail, including via the DHgate.com
 messaging system); Louis Vuitton Malletier v. affordablelouisvuitton.com, No. 24-cv-60498-MD
 (S.D. Fla. May 22, 2024) (Order authorizing alternate service of process via, inter alia, e-mail).
 See also Chanel, Inc. v. 21914270, No. 24-60261-CIV-SINGHAL, 2024 U.S. Dist. LEXIS 31199
 (S.D. Fla. Feb. 23, 2024) (Order granting alternate service of process, inter alia, via e-mail,
 including via the DHgate.com messaging system); adidas AG v. Adidaschinhhang.net, No. 23-
 62427-CIV-DIMITROULEAS, 2024 U.S. Dist. LEXIS 34480 (S.D. Fla. Jan. 3, 2024) (Order
 granting alternate service of process, inter alia, via e-mail, including via private messaging
 applications and/or services); Tiffany (NJ) LLC v. Individuals, No. 23-62371-CIV-ROSENBERG,
 2023 U.S. Dist. LEXIS 234584 (S.D. Fla. Dec. 29, 2023) (same); Gucci Am., Inc. v. Individuals,
 No. 23-61007-CIV-SMITH, 2023 U.S. Dist. LEXIS 234604 (S.D. Fla. Dec. 19, 2023) (same);
 Chanel, Inc. v. 21909944, No. 23-cv-62279-BLOOM, 2023 U.S. Dist. LEXIS 215886 (S.D. Fla.
 Dec. 5, 2023) (Order granting alternate service of process, inter alia, via e-mail, including via the
 DHgate.com messaging system); accord Chanel, Inc. v. 21913657, No. 24-cv-60806-DSL (S.D.
 Fla. July 19, 2024) (same).
 2
   See, e.g., Chanel, Inc. v. 21859711, No. 24-cv-22170-MD (S.D. Fla. June 10, 2024) (Order
 granting alternative service via e-mail and by posting on plaintiff’s designated website); Louis
 Vuitton Malletier v. affordablelouisvuitton.com, No. 24-cv-60498-MD (S.D. Fla. May 22, 2024)
 (same). See also Chanel, Inc. v. 21914270, No. 24-60261-CIV-SINGHAL, 2024 U.S. Dist. LEXIS
 31199 (S.D. Fla. Feb. 23, 2024) (same); adidas AG v. Adidaschinhhang.net, No. 23-62427-CIV-
 DIMITROULEAS, 2024 U.S. Dist. LEXIS 34480 (S.D. Fla. Jan. 3, 2024) (same); Tiffany (NJ)



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  website posting need only be “reasonably calculated under all the circumstances, to apprise

  interested parties of the pendency of the action and afford them an opportunity to present their

  objections.” National Association for Stock Car Auto Racing, Inc., 584 F. Supp. 2d at 826 (citing

  Mullane v. Cent. Hanover Bank & Trust Co., 339 U.S. 306, 315-16, 70 S. Ct. 652, 94 L. Ed. 865

  (1950)). In National Association for Stock Car Auto Racing, Inc. v. Does, the United States District

  Court for the Western District of North Carolina determined that the plaintiff could serve “Doe”

  defendants and apprise those defendants of a pending preliminary injunction hearing by posting

  on the plaintiff’s website. Id.

         Accordingly, Chanel has created its Website that will be appearing at the URL

  http://servingnotice.com/cI5hM/index.html whereon copies of the Summons, Complaint, this

  Motion, and all other pleadings, documents, and orders issued in this action will be posted.

  (Gaffigan Decl. ¶ 5.) The address for Plaintiff’s Website will be provided to Defendant via its

  known messaging account, including the account reflected on Schedule “A,” and will be included

  as part of service of process in this matter. (Id. at ¶¶ 4-5.) Chanel respectfully submits that

  alternative service by posting the Summons, Complaint, and other documents filed in this action

  on Plaintiff’s Website will also provide notice to Defendant sufficient to meet the due process

  requirements for service of process pursuant to Federal Rule of Civil Procedure 4, apprise

  Defendant of the pendency of this action, and afford Defendant and any other interested parties an

  opportunity to present their answers and objections.




  LLC v. Individuals, No. 23-62371-CIV-ROSENBERG, 2023 U.S. Dist. LEXIS 234584 (S.D. Fla.
  Dec. 29, 2023) (same); Gucci Am., Inc. v. Individuals, No. 23-61007-CIV-SMITH, 2023 U.S.
  Dist. LEXIS 234604 (S.D. Fla. Dec. 19, 2023) (same); Chanel, Inc. v. 21909944, No. 23-cv-62279-
  BLOOM, 2023 U.S. Dist. LEXIS 215886 (S.D. Fla. Dec. 5, 2023) (same); accord Chanel, Inc. v.
  21913657, No. 24-cv-60806-DSL (S.D. Fla. July 19, 2024) (same).


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          B.     Service of Process Via Electronic Means Are Not Prohibited by International
                 Agreement.

          Service via e-mail and via posting on a designated website are not prohibited by

  international agreement. Based upon the information provided in connection with Defendant’s e-

  commerce store operating under its Store ID, including the shipping and onsite contact

  information, and the investigative data obtained from the DHgate platform, Chanel has reasonable

  cause to suspect Defendant resides and/or operates in the People’s Republic of China (“China”)

  and/or redistributes products from sources in that location. (See Gaffigan Decl. ¶ 8 and Comp. Ex.

  “1” attached thereto, at p. 6.) The United States and China are signatories to the Hague Convention

  on the Service Abroad of Judicial and Extra-Judicial Documents in Civil and Commercial Matters

  (the “Hague Service Convention”). (Id. at ¶ 9 and Comp. Ex. “2” attached thereto, Hague Service

  Convention and list of signatory Members.) However, the Hague Service Convention does not

  preclude the Court from authorizing service of process via e-mail, messaging, or posting on a

  designated website.

          Alternative means of service, such as e-mail, messaging, and website posting, are not

  prohibited by the Hague Service Convention where a signatory nation has not expressly objected to

  those means. See Stat Med. Devices, Inc. v. HTL-Strefa, Inc., Case No. 15-cv-20590-FAM, 2015

  U.S. Dist. LEXIS 122000 (S.D. Fla. Sept. 14, 2015) (noting that an objection to the alternative forms

  of service set forth in the Hague Convention is limited to the forms of service expressly objected
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  to). Article 10 to the Hague Service Convention allows service of process through means other than


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    See, e.g., Chanel, Inc. v. 21859711, No. 24-cv-22170-MD (S.D. Fla. June 10, 2024) (authorizing
  service of process via e-mail and by posting on plaintiff’s designated website, noting an objection
  to the alternative means of service provided by the Hague Convention is expressly limited to those
  means and does not represent an objection to other forms of service, such as e-mail or website
  posting); Louis Vuitton Malletier v. affordablelouisvuitton.com, No. 24-cv-60498-MD (S.D. Fla.
  May 22, 2024) (same). See also Chanel, Inc. v. 21914270, No. 24-60261-CIV-SINGHAL, 2024



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  a signatory’s Central Authority, such as “postal channels” and “judicial officers,” provided the State

  of destination does not object to those means. See Hague Convention, Art. 10, 20 U.S.T. 361

  (1969). China has declared that it opposes the service of documents in its territory by the alternative

  means of service outlined in Article 10 of the Convention, including the service of process by postal

  channels. (Gaffigan Decl. ¶ 9.) However, the objections are specifically limited to the means of

  service enumerated in Article 10, and China has not expressly objected to service via e-mail or

  website posting. Thus, there are no international agreements prohibiting service by e-mail or website

  posting. (See id. and Comp. Ex. “2” attached thereto, which includes a true and correct printout of

  China’s Declaration/Reservation/Notification in regards to the Hague Convention.) Because the

  declaration to the Hague Convention filed by China does not object to e-mail and website posting

  service, “a court acting under Rule 4(f)(3) remains free to order alternative means of service that are

  not specifically referenced in Article [10].” Gurung v. Malhotra, 279 F.R.D. 215, 219 (S.D.N.Y.

  2011); see also WhosHere, Inc. v. Orun, Case No. 13-cv-00526-AJT, 2014 U.S. Dist. LEXIS 22084,

  at *9 (E.D. Va. Feb. 20, 2014) (authorizing e-mail service, noting objection to means of service listed

  in Article 10 “is specifically limited to the enumerated means of service in Article 10.”).

         Moreover, an objection to the alternative means of service provided in Article 10 does not

  represent a per se objection to other forms of service, such as e-mail or website posting. See In re

  S. African Apartheid Litig., 643 F. Supp. 2d 423, 434, 437 (S.D.N.Y. 2009) (requiring express

  objection to alternative method of service by signatory nation to preclude that particular means of



  U.S. Dist. LEXIS 31199 (S.D. Fla. Feb. 23, 2024) (same); adidas AG v. Adidaschinhhang.net, No.
  23-62427-CIV-DIMITROULEAS, 2024 U.S. Dist. LEXIS 34480 (S.D. Fla. Jan. 3, 2024) (same);
  Tiffany (NJ) LLC v. Individuals, No. 23-62371-CIV-ROSENBERG, 2023 U.S. Dist. LEXIS
  234584 (S.D. Fla. Dec. 29, 2023) (same); Gucci Am., Inc. v. Individuals, No. 23-61007-CIV-
  SMITH, 2023 U.S. Dist. LEXIS 234604 (S.D. Fla. Dec. 19, 2023) (same); Chanel, Inc. v.
  21909944, No. 23-cv-62279-BLOOM, 2023 U.S. Dist. LEXIS 215886 (S.D. Fla. Dec. 5, 2023)
  (same); accord Chanel, Inc. v. 21913657, No. 24-cv-60806-DSL (S.D. Fla. July 19, 2024) (same).


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  service). Consequently, China’s objection to the means of alternative service provided in Article

  10 is no bar to court-directed service and does not prevent this Court from authorizing alternative

  service of process via e-mail or website posting. See, e.g., Gurung, 279 F.R.D. at 220 (approving

  service of process on foreign defendants via e-mail despite India’s objection to Article 10, stating

  that an “objection to service through postal channels does not amount to an express rejection of

  service via electronic mail.”); Stat Med. Devices, Inc., 2015 U.S. Dist. LEXIS 122000, at *8-9

  (permitting service of process on foreign defendants via e-mail and substituted service on domestic

  counsel despite Poland’s objection to Article 10, noting “This Court and many other federal courts

  have permitted service by electronic mail and determined that an objection to Article 10 of the

  Hague Convention . . . does not equate to an express objection to service via electronic mail.”);

  FTC v. PCCare247 Inc., Case No. 12-cv-7189-PAE, 2013 U.S. Dist. LEXIS 31969, at *10

  (S.D.N.Y. March 7, 2013) (authorizing service of process via e-mail and Facebook, explaining

  that “Numerous courts have held that service by email does not violate any international agreement

  where the objections of the recipient nation are limited to those means enumerated in Article 10.”);

  WhosHere, Inc., 2014 U.S. Dist. LEXIS 22084 (authorizing service of process on foreign

  defendants via e-mail despite Turkey’s objection to Article 10); Richmond Techs., Inc. v. Aumtech

  Bus. Solutions, Case No. 11-CV-02460-LHK, 2011 U.S. Dist. LEXIS 71269 (N.D. Cal. July 1,

  2011) (“[N]umerous courts have authorized alternative service under Rule 4(f)(3) even where the

  Hague Convention applies. This is true even in cases involving countries that, like India, have

  objected to the alternative forms of service permitted under Article 10 of the Hague Convention.”).

         Notwithstanding, Chanel also submits that the Hague Convention does not apply herein.

  Chanel’s counsel reviewed the information contained on Defendant’s e-commerce store operating

  under its Store ID and the investigative data provided thereunder. (See Gaffigan Decl. ¶ 8.)




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  However, Chanel has not identified a valid address for service of process on Defendant or

  determined Defendant’s exact location. (Id.) According to Article 1 of the Hague Convention,

  “[the] convention shall not apply where the address of the person to be served with the document

  is not known.” See Hague Convention, Art. 1, 20 U.S.T. 361 (1969).

  IV.    CONCLUSION

         For the foregoing reasons, Plaintiff, Chanel, Inc., respectfully requests this Court grant the

  present motion and authorize service of the Summons, Complaint, and all filings and discovery in

  this matter upon Defendant:

         (1) via e-mail by providing the address for Plaintiff’s Website to Defendant via Defendant’s

  known electronic messaging accounts via (i) DHgate’s messaging system contact means identified

  on Schedule “A” for Defendant, or (ii) the data related to its e-commerce store, including customer

  service e-mail address and/or onsite contact form, or (iii) the e-commerce marketplace e-mail for

  the e-commerce store, and

         (2) via website posting by posting a copy of the Summons, Complaint, and all filings and

  discovery    in    this   matter    on     Plaintiff’s   Website      appearing     at   the    URL

  http://servingnotice.com/cI5hM/index.html.

  DATED: September 4, 2024.                     Respectfully submitted,

                                                STEPHEN M. GAFFIGAN, P.A.

                                                By: Stephen M. Gaffigan
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                                                Virgilio Gigante (Fla. Bar No. 082635)
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                           SCHEDULE “A”
         DEFENDANT DHGATE.COM STORE ID AND MEANS OF CONTACT

                Defendant /
                                       Means of Contact
                 Store ID
                 21442995     https://www.dhgate.com/store/21442995




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                                  CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on September 4, 2024, I electronically filed the foregoing

  document with the Clerk of Court using CM/ECF. I also certify that a true copy of the foregoing

  was served the 4th day of September, 2024, upon Defendant by posting copies of the same on

  Plaintiff’s Website appearing at the URL http://servingnotice.com/cI5hM/index.html and by

  notifying Defendant of the same via email by providing the address to Plaintiff’s Website to

  Defendant via the DHgate’s messaging account identified on Schedule “A,” above, or via the data

  related to its e-commerce store, including customer service e-mail addresses and/or onsite contact

  form, or via the e-commerce marketplace e-mail for the e-commerce store.

                                                      Stephen M. Gaffigan
                                                      Stephen M. Gaffigan




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